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 8
 9                                UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
12
     KATHY LIRA, an individual and on behalf         Case No.: 8:16-CV-1858-JVS-JG
13   of all others similarly situated,
                                                     Assigned to Honorable James V. Selna
14                   Plaintiff,
15           v.                                      DEFENDANT ADOREME, INC.’S
                                                     NOTICE OF MOTION AND
16   ADORME, INC., a Delaware corporation;           MOTION TO STAY AND COMPEL
     and DOES 1-10, inclusive,
17                                                   ARBITRATION PURSUANT TO
                     Defendant.                      FEDERAL ARBITRATION ACT §§ 3
18
                                                     and 4
19
                                                     Date: January 30, 2016
20                                                   Time: 1:30 p.m.
21                                                   Crtrm:10C

22
                                                     Filing Date: October 11, 2016
23
24
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27
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that at 1:30 p.m. on January 30, 2017, or as soon
 3   thereafter as counsel may be heard in Courtroom 10C of the above-referenced Court,
 4   located at 411 West 4th Street, Santa Ana, CA 92701, Defendant AdoreMe, Inc.
 5   (“AdoreMe”) will and hereby does move this Court, pursuant to the Federal Arbitration
 6   Act, 9 U.S.C. §§ 3 and 4 and the arbitration agreements between Plaintiff and AdoreMe
 7   for an Order staying Plaintiff’s claims against AdoreMe and compelling arbitration.
 8           This Motion is based on this Notice of Motion and Motion to Stay and Compel
 9   Arbitration Pursuant To Federal Arbitration Act §§ 3 and 4, the attached Memorandum
10   of Points and Authorities in support thereof, the concurrently filed Declaration of
11   Bogdan Lucaciu and exhibits attached thereto and upon such other matters and further
12   argument as may be presented at the time of the hearing of this motion. This motion is
13   made following the conference of counsel pursuant to L.R. 7-3 which took place on
14   November 2, 2016.
15
16   DATED: December 1, 2016             Respectfully submitted,
17                                       ANDREW E. PARIS
                                         ALEXANDER AKERMAN
18                                       ALSTON & BIRD LLP
19
                                         /s/ Andrew E. Paris
20                                                         Andrew E. Paris
                                         Attorneys for Defendant
21                                       ADOREME, INC.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION
 3            Plaintiff Kathy Lira agreed to a broad arbitration agreement with Defendant
 4   AdoreMe, Inc. when she purchased products on three separate occasions from
 5   AdoreMe’s website. Be agreeing to AdoreMe’s Terms and Conditions of Use (“Terms
 6   of Use” or “TOU”), Plaintiff obtained the benefits of AdoreMe’s services and products
 7   and consented to individually arbitrate disputes in her hometown area under American
 8   Arbitration Association rules. AdoreMe agrees to pay for the entirety of Plaintiff’s
 9   arbitration filing fees and share of the arbitrator’s fees, as well as Plaintiff’s attorneys’
10   fees up to $5000. The arbitration agreement provides a consumer-friendly and efficient
11   means of resolving Ms. Lira’s dispute. As set forth more fully below, AdoreMe’s
12   motion to stay should be granted because:
13                  Plaintiff agreed to arbitrate her disputes with AdoreMe on three separate
14                   occasions. Plaintiff’s broad agreement to arbitrate encompass any disputes
15                   “arising out of or relating to” Plaintiff’s agreement with AdoreMe,
16                   “including with respect to the interpretation of any provision of” Plaintiff’s
17                   agreement with Adore Me “or concerning the performance or obligations
18                   of AdoreMe.” (See Declaration of Bogdan Lucaciu filed concurrently
19                   herewith (“Lucaciu Decl.”), Exs. D (Original Terms of Use) and E
20                   (Updated Terms of Use).)1
21                  All of Plaintiff’s claims fall within the broad scope of her arbitration
22                   agreement.      Specifically, each claim hinges on allegations related to
23                   AdoreMe’s products and services and related billing disputes.
24                  Plaintiff accepted the arbitration agreement when she purchased
25                   AdoreMe’s products and the agreement is enforceable and not
26                   unconscionable under the parties’ choice of New York law (as well as the
27
28   1
         All citations to exhibits in this motion are to exhibits attached to the Lucaciu Declaration.
                                                   1
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 1                   substantively identical principles of California law).
 2           In sum, Plaintiff willingly undertook the contractual obligation to arbitrate her
 3   claims in exchange for access to AdoreMe’s services and products. Under the Federal
 4   Arbitration Act (“FAA”), Plaintiff is obligated to pursue this dispute in arbitration.
 5   AdoreMe’s motion should be granted and this matter stayed pending completion of the
 6   arbitration.
 7   II.     BACKGROUND
 8           A.      AdoreMe’s Business and the AdoreMe Website
 9           AdoreMe is an online retailer that offers women’s clothing for purchase to
10   customers in the United States, Canada, and Australia. (Lucaciu Decl., ¶ 2.) Customers
11   may access AdoreMe’s website using their desktop/laptop computers or by using their
12   mobile devices, such as a mobile phone or tablet. The shopping experiences on both
13   platforms are very similar, as described below. To purchase products from AdoreMe,
14   a customer must first create a digital account with AdoreMe. (Id., ¶¶ 2, 4.) To create
15   an AdoreMe account a customer must go to AdoreMe’s Sign-Up page, either on the
16   desktop or mobile website platform, enter a valid email address, and create a password.
17   (Id.) The email address and password entry fields are located in a shaded graphic box.
18   (Id.) Within the same shaded graphic box, under the entry fields, is an underlined
19   hyperlink to AdoreMe’s Original Terms and Conditions of Use (“Original TOU”). (Id.)
20   Clicking on the hyperlink takes the customer directly to the Original TOU. (Id.)
21           Once a customer creates a digital account with AdoreMe, the customer is able to
22   shop and purchase products. The customer may purchase products on a “pay as you
23   go” basis or by becoming a “VIP Member.”               (Id., ¶ 2.)   The subscription VIP
24   Membership provides certain benefits to the customer, including substantial discounts
25   on merchandise. (Id.)
26           Regardless of whether a customer opts to purchase products on a “pay as you go”
27   basis or through the VIP Membership, after a customer selects an item she wishes to
28   purchase, it is placed in her online shopping cart. On the Desktop website, to check out

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 1   and purchase any product in the shopping cart, the customer clicks on the shopping bag
 2   icon at the top of website. (Id., ¶ 5.) This takes the customer to the Shopping Bag page.
 3   If the customer has not already opted to become a VIP Member, on this screen she will
 4   be able to choose to make the purchase on a “pay as you go” basis or by becoming a
 5   “VIP Member.” The customer is then directed to enter her shipping and billing
 6   information. (Id.) The next step in the purchase process (whether “pay as you go” or
 7   “VIP”) is the Checkout Page, which summarizes the contents of the order and the total
 8   purchase price. (Id., Ex. B.) It prominently displays a textual notice immediately under
 9   the “PLACE ORDER” button which states: “By purchasing, you agree with the Adore
10   Me Terms & Conditions.” (Id.) The “Adore Me Terms & Conditions” in the notice is
11   hyperlinked and highlighted in red text. (Id.) Clicking on the highlighted hyperlink
12   takes the customer directly to the Terms of Use, which include an arbitration provision.
13   (Id., ¶ 5.) To place an order, the customer must click on the “PLACE ORDER” button
14   above the notice regarding their agreement to the AdoreMe Terms of Use. (Id.)
15            When a customer uses a mobile phone to shop, she accesses the AdoreMe
16   Mobile website. On the Mobile website, to check out and purchase any product in the
17   shopping cart, the customer must navigate to the AdoreMe Mobile Shopping Bag Page
18   by clicking the shopping bag icon. (Id., ¶¶ 6, 8.). The Shopping Bag Page summarizes
19   the contents of the order and the total purchase price. (Id., Ex. C, F.) It prominently
20   displays a textual notice immediately above the “Continue to Checkout” button which
21   states: “By purchasing, you agree with the Adore Me Terms & Conditions,” with a
22   hyperlink to AdoreMe’s Updated Terms of Use highlighted in bold and underlined.
23   (Id.) Clicking on the hyperlink takes the customer directly to the Updated Terms of
24   Use. (Id., ¶¶ 6, 8.) To place an order, the customer must click on the “Continue to
25   Checkout” button and confirm her purchase. (Id.)
26   ///
27   ///
28   ///

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 1            B.     Ms. Lira Created an AdoreMe Account, Purchased Products in May and
 2                   June, and Accepted AdoreMe’s Original TOU and Arbitration Clause
 3            On May 11, 2016,2 Plaintiff created an account with AdoreMe through
 4   AdoreMe’s main or “Desktop” version of its website, using a desktop or laptop
 5   computer. (Id., ¶ 4.) As described above, Ms. Lira was required to enter an email
 6   address and create a password to create her account. During this time an underlined
 7   hyperlink to AdoreMe’s Original Terms of Use was present beneath the entry fields for
 8   Plaintiff’s email and password, in the same shaded graphic box. (Id., Ex. A.) Clicking
 9   on the Original TOU hyperlink would take Plaintiff directly to the terms. (Id.)
10            After creating her account on May 11, Plaintiff shopped online using the Desktop
11   version of AdoreMe’s website and selected one item which she placed in her online
12   shopping bag. (Id., ¶ 5.) Plaintiff then elected to purchase the product by joining
13   AdoreMe’s VIP Membership program. (Id.) As described above, to purchase the
14   product Plaintiff navigated to AdoreMe’s Checkout Page which prominently displays a
15   textual notice immediately under the “PLACE ORDER” button which states: “By
16   purchasing, you agree with the Adore Me Terms & Conditions”. (Id., Ex. B.) The
17   hyperlink to AdoreMe’s Original TOU was highlighted in red text and clicking on the
18   hyperlink would take Plaintiff directly to the Original TOU. (Id.) Plaintiff clicked on
19   the “PLACE ORDER” button directly above the notice regarding her agreement to the
20   Original TOU to complete her purchase. (Id., ¶ 5.)
21            On June 6, 2016, Plaintiff accessed AdoreMe’s Mobile website. (Id., ¶6.) She
22   selected one item, put it in her online shopping bag, and then proceeded to check out.
23   (Id.) Plaintiff was required to navigate to the AdoreMe Shopping Bag Page and click
24   the “Continue to Checkout” button, which is located immediately below a textual notice
25   which states: “By purchasing, you agree with the Adore Me Terms & Conditions,” with
26   a hyperlink to AdoreMe’s Original TOU highlighted in bold and underlined. (Id., Ex.
27
28   2
         All dates below refer to the year 2016, unless otherwise stated.
                                                  4
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 1   C.) Plaintiff clicked on the “Continue to Checkout” button and confirmed her purchase.
 2   (Id., ¶6.)
 3           By purchasing AdoreMe’s products and using its services, Plaintiff agreed to be
 4   bound by the Original TOU hyperlinked adjacent to prominent buttons in both the
 5   Desktop and Mobile versions of the website:
 6                   By using the AdoreMe, Inc. website (the "Site"), you agree to
                     follow and be bound by these Terms and Conditions (the
 7
                     "Terms")… It is your responsibility to review these Terms
 8                   and Conditions periodically. If at any time you find these
                     Terms and Conditions unacceptable or if you do not agree to
 9
                     these Terms and Conditions, please do not use this Site.
10
11
     (Ex. D, Original TOU, ¶¶ 1-2.)

12
             The Original TOU contains a broad arbitration agreement which requires

13
     arbitration of “all disputes and claims” including “[c]laims arising out of or relating to

14
     any aspect of the relationship between us, whether based in contract, tort, statute, fraud,

15
     misrepresentation, or any other legal theory” and “[c]laims that arose before these or

16
     any prior Terms (including, but not limited to, claims relating to advertising).” (Id., Ex.

17
     D, Original TOU, Arbitration Agreement(a).) The arbitration agreement further states

18
     in relevant part:

19                   Any arbitration under this Agreement will take place on an
20                   individual basis; class arbitrations and class actions are not
                     permitted. AdoreMe is committed to resolving all disputes in
21                   a fair, effective, and cost-efficient manner. Accordingly, our
22                   Terms and Conditions (the "Terms") provide that disputes
                     will be resolved in binding arbitration or small claims court.
23                   AdoreMe's arbitration provision, which is set forth below, has
24                   been designed to make arbitration as convenient and
                     inexpensive for our customers as possible. Among other
25                   things, it specifies that AdoreMe will bear all costs of
26                   arbitration (unless a customer's claims exceed $25,000 or an
                     arbitrator determines that the claims are frivolous), and that,
27                   under certain circumstances (explained in the arbitration
28                   provision), AdoreMe will pay a premium if a customer
                     receives an arbitration award greater than the value of
                                                  5
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 1                   AdoreMe's settlement offer, and will pay the customer's
                     reasonable attorney's fees.
 2
 3                                                ***
 4                   After AdoreMe receives notice at the Notice Address that you
                     have commenced arbitration, it will promptly reimburse you
 5
                     for your payment of the filing fee, unless your claim is for
 6                   more than $25,000. (Currently, the filing fee is $125 for
 7
                     claims under $10,000, but this is subject to change by the
                     arbitration provider. If you are unable to pay this fee,
 8                   AdoreMe will pay it directly after receiving a written request
 9
                     at the Notice Address.) The arbitration will be governed by
                     the Commercial Dispute Resolution Procedures and the
10                   Supplementary Procedures for Consumer Related Disputes
11                   (collectively, the "AAA Rules") of the American Arbitration
                     Association (the "AAA"), as modified by these Terms, and
12                   will be administered by the AAA. The AAA Rules are
13                   available online at www.adr.org or by calling the AAA at 1-
                     800-778-7879.
14
                     The arbitrator is bound by these Terms. Unless AdoreMe and
15                   you agree otherwise, any arbitration hearings will take place
16                   in the county (or parish) of your contact address.
17   (Id., Ex. D, Original TOU, DEMAND FOR ARBITRATION; Arbitration
18   Agreement(c).)
19           C.      Plaintiff filed this Lawsuit Despite Agreeing to Arbitrate Her Claims
20           On October 7, Plaintiff initiated this lawsuit by filing her Class Action Complaint
21   (“Complaint”). Plaintiff alleges that AdoreMe’s Term of Use do not give adequate
22   notice of the billing terms of the VIP Membership program. (Complaint, ¶¶ 19-20.)
23   Ms. Lira brings claims under California’s Automatic Renewal Law and Unfair
24   Competition Law. (Id., ¶¶ 36-58.) She also seeks to certify a class of allegedly similarly
25   situated purchasers, notwithstanding the presence of a class action waiver in her
26   arbitration agreement. (Id., ¶¶ 26-35.)
27   ///
28   ///
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 1           D.      Plaintiff Purchased Three More Products from AdoreMe After Filing Her
 2                   Complaint and Accepted AdoreMe’s Updated Terms & Conditions
 3           As specified in the Original TOU, AdoreMe reserves the right to update its Terms
 4   & Conditions of Use from time to time. (Ex. D, Original TOU, ¶ 2.) AdoreMe
 5   exercised this right by posting updated Terms & Conditions of Use to its website
 6   effective September 8, 2016 (“Updated TOU”). (Lucaciu Decl., ¶7.) AdoreMe updated
 7   its contract before Ms. Lira filed her Complaint on October 7, 2016. (Id.) Ms. Lira was
 8   aware of and acknowledged the changes to AdoreMe’s Terms & Conditions in her
 9   Complaint. (Complaint, ¶ 24 (“Defendant has purported to make changes in some of
10   the language of its website pages where subscriptions are purchased and in its ‘Terms
11   and Conditions’”).)
12           On October 31, despite having already filed her Complaint, Plaintiff used her
13   mobile device to connect to AdoreMe’s Mobile website and purchase three more
14   products. (Lucaciu Decl., ¶ 8.) As with the June purchase, Ms. Lira could only purchase
15   these products by advancing to the AdoreMe Shopping Bag Page. (Id.) Like during
16   the June time period, AdoreMe’s Shopping Bag Page prominently displays a text notice
17   immediately over the “Continue to Checkout” button which states: “By purchasing, you
18   agree with the Adore Me Terms & Conditions,” with “Adore Me Terms & Conditions”
19   hyperlinked and highlighted in bold and underlined. (Id., Ex. F.) Clicking on the
20   hyperlink would take Plaintiff directly to the Updated TOUs. (Id., ¶ 8.) Ms. Lira clicked
21   on the “Continue to Checkout” button and confirmed her purchase.3 (Id.)
22
23   3
       Because the Updated TOU supersedes the Original TOU (Lucaciu Decl., Ex. E, p. 1
24   (“PLEASE READ THESE TERMS CAREFULLY. THESE TERMS MAY HAVE
     CHANGED SINCE YOU LAST ACCESSED OR USED THE SERVICES. BY ACCESSING
25   OR USING ANY PART OF THE SERVICES, YOU AGREE TO THESE
     TERMS.”).) (emphasis in original). AdoreMe seeks to compel arbitration pursuant to the
26   updated terms. However, arbitration could equally be compelled under either set of terms as
     the arbitration provisions in the Original and Updated TOUs are substantively similar. (Id., ¶
27   10.) Under both, the arbitration is governed by the Federal Arbitration Act, rules of the
     American Arbitration Association (“AAA”), and, unless Plaintiff elects otherwise, is to take
28   place in her local area. (Id.) Under the Updated TOUs AdoreMe agrees to pay for all
     arbitration and administration fees and legal fees up to a maximum of $5000: “Adore Me will
     pay for the entirety of the arbitrators' and administrative fees of arbitration and will pay for
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 1           At the very beginning of the contract, the Updated TOU expressly provide—in
 2   boldface and all capitalized text—that by using AdoreMe’s service, Plaintiff agrees to
 3   be bound by the terms, which include an arbitration provision:
 4
                     THE FOLLOWING TERMS AND CONDITIONS OF
 5                   USE (“TERMS”) GOVERN YOUR USE OF THE
 6                   SERVICES, DEFINED BELOW IN ¶ 1, AND YOUR
                     RELATIONSHIP WITH ADORE ME, INC., ITS
 7                   EMPLOYEES, OFFICERS, DIRECTORS, AGENTS,
 8                   SUBSIDIARIES, AND AFFILIATES (“WE,” “OUR,”
                     “US,” OR “ADORE ME”). THE FOLLOWING
 9                   TERMS ARE SUBJECT TO ARBITRATION.
10
                     PLEASE READ THESE TERMS CAREFULLY. THESE
11                   TERMS MAY HAVE CHANGED SINCE YOU LAST
                     ACCESSED OR USED THE SERVICES. BY ACCESSING
12                   OR USING ANY PART OF THE SERVICES, YOU AGREE
                     TO THESE TERMS. If at any time you find these Terms and
13                   Conditions unacceptable or if you do not agree to these Terms
                     and Conditions, please do not use this Site or the Services.
14                   We may revise these Terms and Conditions at any time.
15                   Notice of Agreement to Arbitrate and Class Action
                     Waiver
16
                     By accepting these Terms, you agree to resolve any
17                   dispute with us on an individual basis in arbitration, and
                     to waive any right to pursue a class action or suit in court,
18                   except in matters that may be pursued on an individual
                     basis in your local small claims court.
19
20   (Ex. E, Updated TOU, p. 1.) (emphasis in original).
21           The arbitration agreement itself states in pertinent part:
22                   In     the unlikely event that Adore Me's Customer
23                   Care department is unable to resolve your complaint to your
                     satisfaction (or if Adore Me has not been able to resolve a dispute
24                   it has with you after attempting to do so informally), all disputes
25                   between you and Adore Me will be resolved by BINDING
                     ARBITRATION. YOU HEREBY AGREE TO GIVE UP YOUR
26                   RIGHT TO GO TO COURT to assert or defend your rights under
27
28   your legal fees up to a maximum of $5,000, regardless of the outcome of the Arbitration.”
     (Id.). AdoreMe agrees to honor this term for purposes of this dispute with Ms. Lira under
     either the Original or Updated TOU. (Id.)
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 1                   this contract, except for matters that may be taken to small claims
                     court. Your rights will be determined by a neutral arbitrator,
 2
                     NOT a judge or jury. You agree that any dispute arising out of or
 3                   relating to this Agreement, including with respect to the
                     interpretation of any provision of this Agreement or concerning
 4
                     the performance or obligations of Adore Me or you, shall be
 5                   resolved by mandatory and binding arbitration which shall be
 6
                     governed by the Commercial Dispute Resolution Procedures and
                     the Supplementary Procedures for Consumer Related Disputes
 7                   (collectively, the "AAA Rules") of the American Arbitration
 8
                     Association (the "AAA"), as modified by these Terms, and will
                     be administered by the AAA. The AAA Rules are available
 9                   online at www.adr.org or by calling the AAA at 1-800-778-
10                   7879.

11                   Any dispute arising out of or relating to this Agreement,
12                   including with respect to the interpretation of any provision of
                     this Agreement or concerning the performance or obligations of
13                   Adore Me or you, shall be governed by the Federal Arbitration
14                   Act and shall be resolved by mandatory and binding arbitration
                     submitted to the AAA in accordance with the AAA Rules.
15
16   (Id., pp. 11-12.) The Update TOU is governed by New York law. (Id., p. 13.)
17           AdoreMe’s arbitration provision in the Updated TOU creates a mechanism
18   whereby subscribers can efficiently and economically obtain resolution of disputes
19   under pursuant to its rules, including the consumer-friendly American Arbitration
20   Association (“AAA”) procedures specifically designed for consumer disputes. Further,
21   arbitrations can be conducted either “by telephone or written submission” or “an in-
22   person arbitration hearing will be conducted at an AAA facility [Plaintiff’s] area or at
23   an AAA facility in New York City, at [Plaintiff’s] election.” (Id., p. 12.) Additionally,
24   AdoreMe agrees to “promptly reimburse” Plaintiff for “payment of any arbitration
25   filing fee…[and] AdoreMe will pay for the entirety of the arbitrator’s and administrative
26   fees of arbitration and will pay for [Plaintiff’s] legal fees up to a maximum of $5,000,
27   regardless of the outcome of the Arbitration.” (Id.)
28   ///

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 1   III.    ARGUMENT
 2           A.      The FAA Applies and Requires Enforcement of the Parties’
 3                   Arbitration Agreement
 4           The FAA expressly provides that agreements to arbitrate “shall be valid,
 5   irrevocable, and enforceable.” 9 U.S.C. § 2. The FAA applies to any written arbitration
 6   agreement contained in a contract “evidencing a transaction involving commerce.” Id.
 7   The Supreme Court has expansively construed the phrase “involving commerce,”
 8   interpreting it as extending the FAA’s reach to the full limit of Congress’ Commerce
 9   Clause power. See Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 268 (1995).
10   There is no question that the FAA applies to Plaintiff’s arbitration agreement. Indeed,
11   under the Original and Updated TOU the parties expressly agree that the Federal
12   Arbitration Act governs the arbitration agreement and the transactions at issue involve
13   interstate commerce—the online sale of retail merchandise to California citizen by a
14   New York-headquartered corporation. (Lucaciu Decl., ¶ 2; Ex. D, Original TOU,
15   Arbitration Agreement(a); Ex. E, Updated TOU, p. 12; Complaint, ¶ 8.)
16           “The principal purpose of the FAA is to ensur[e] that private arbitration
17   agreements are enforced according to their terms.” AT&T Mobility LLC v. Concepcion,
18   131 S. Ct. 1740, 1748 (2011) (quotations and citations omitted). The FAA both
19   “embod[ies]” and “declare[s] a national policy favoring arbitration.” Id. at 1749;
20   Preston v. Ferrer, 552 U.S. 346, 353 (2008). The Supreme Court has interpreted the
21   FAA “as reflecting both a liberal federal policy favoring arbitration . . . and the
22   fundamental principle that arbitration is a matter of contract.” Concepcion, 131 S. Ct.
23   at 1745 (internal citations and quotations omitted). “In line with these principles, courts
24   must place arbitration agreements on an equal footing with other contracts . . . and
25   enforce them according to their terms.” Id. (internal citations omitted). As the Supreme
26   Court has recently stated:
27           The purpose is readily apparent from the FAA’s text. Section 2 makes
             arbitration agreements “valid, irrevocable, and enforceable” as written . . .
28           ; § 3 requires courts to stay litigation of arbitral claims pending arbitration
             of those claims “in accordance with the terms of the agreement”; and § 4
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 1           requires courts to compel arbitration “in accordance with the terms of the
             agreement” upon the motion of either party to the agreement . . .
 2
 3   Id. at 1748 (citations omitted).
 4           Time after time, the United States Supreme Court has recognized the strong
 5   public policy in favor of arbitration. See Circuit City Stores, Inc. v. Adams, 532 U.S.
 6   105, 115 (2001) (noting the pro-arbitration purposes of the FAA); Green Tree Fin.
 7   Corp.-Ala. v. Randolph, 531 U.S. 79, 89 (2000) (enforcing agreement to arbitrate and
 8   holding that Congress intended the FAA “‘to reverse the longstanding judicial hostility
 9   to arbitration agreements . . . and to place arbitration agreements upon the same footing
10   as other contracts’”); Scherk v. Alberto-Culver Co., 417 U.S. 506, 510-11 (1974) (The
11   FAA expresses Congress’ intent to reverse “centuries of judicial hostility to arbitration
12   agreements,” citing H.R. Rep. No. 68-96, at 1, 2 (1924)); see also Randolph v. Green
13   Tree Fin. Corp.-Ala., 244 F.3d 814, 818-19 (11th Cir. 2001) (“According to the
14   Supreme Court, the last time this case was before us we made the mistake of giving too
15   little weight to the FAA’s pro-arbitration policy. We decline to make the same mistake
16   again”). The strength of this federal policy, is “difficult to overstate.” Damato v. Time
17   Warner Cable, Inc., No. 13-CV-994 ARR RML, 2013 WL 3968765 *3 (E.D.N.Y. July
18   31, 2013). New York law and California law are in accord. Nationwide Gen. Ins. Co.
19   v. Inv'rs Ins. Co. of Am., 37 N.Y.2d 91 (1975) (“[T]he announced policy of this State
20   favors and encourages arbitration as a means of conserving the time and resources of
21   the courts and the contracting parties.”); Madden v. Kaiser Found. Hosps., 17 Cal.3d
22   699, 706 (1976) (“[A]rbitration has become an accepted and favored method of
23   resolving disputes . . .”).
24           To further the FAA’s purposes, the Supreme Court has emphasized that courts
25   should interpret arbitration clauses liberally in favor of arbitration. See Moses H. Cone
26   Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983) (“[A]ny doubts
27   concerning the scope of arbitrable issues should be resolved in favor of arbitration. . .
28   .”). Thus, the FAA requires courts to “rigorously enforce agreements to arbitrate.” Dean

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 1   Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 221 (1985); see also In re Arbitration
 2   Between Ayco Co., L.P, 770 N.Y.S.2d 453, 455–56 (2004) (“The FAA evinces
 3   Congress's intent to establish ‘an ‘emphatic’ national policy favoring arbitration which
 4   is binding on all courts, State and Federal such that ‘any doubts concerning the scope
 5   of arbitrable issues should be resolved in favor of arbitration.’”) (citations omitted);
 6   Molecular Analytical Sys. v. Ciphergen Biosystems., Inc., 186 Cal. App. 4th 696, 705
 7   (2010) (“‘[D]oubts as to the scope of an agreement to arbitrate are to be resolved in
 8   favor of arbitration.’”).
 9           The Supreme Court has instructed that courts should “‘move the parties to an
10   arbitrable dispute out of court and into arbitration as quickly and easily as possible.’”
11   Preston, 552 U.S. at 357. “A prime objective of an agreement to arbitrate is to achieve
12   streamlined proceedings and expeditious results.” Concepcion, 131 S. Ct. at 1749.
13   Accordingly, this Court should grant AdoreMe’s Motion because: (i) Plaintiff agreed to
14   arbitrate; and (ii) Plaintiff’s claims fall within the scope of her agreement to arbitrate.
15   See 9 U.S.C. §§ 3, 4. For the reasons set forth below, because all of the requisite
16   elements are satisfied in this case, the Court should stay this matter and require Plaintiff
17   to arbitrate her claims.
18           B.      Plaintiff Agreed to Arbitrate Her Claims with AdoreMe
19           Plaintiff agreed to arbitrate, not litigate, the claims she asserts. On three separate
20   occasions Plaintiff chose to purchase products by clicking a button in order to make a
21   purchase when she was on clear notice that doing so meant that she agreed to arbitrate
22   her disputes with AdoreMe. When Plaintiff purchased products from AdoreMe in May,
23   she agreed to the Original TOU, including the arbitration provision, by clicking the
24   “PLACE ORDER” button located immediately above the textual notice which stated:
25   “By purchasing, you agree with the Adore Me Terms & Conditions” and included a
26   hyperlink to AdoreMe’s Original TOU highlighted in red text. (Lucaciu Decl., ¶ 5, Ex.
27   B.) In June, she again accepted the Original TOU when she shopped on AdoreMe’s
28   Mobile website and clicked on the “Continue to Checkout” button located immediately

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 1   above the same textual notice with a bold and underlined hyperlink to the Original TOU.
 2   (Id., ¶ 6, Ex. C.)
 3           Likewise, on October 31 Plaintiff again agreed to arbitrate her dispute with
 4   AdoreMe by agreeing to the Updated TOU when shopping on AdoreMe’s Mobile
 5   website by clicking the “Continue to Checkout” button located immediately below the
 6   textual notice which states: “By purchasing, you agree with the Adore Me Terms &
 7   Conditions” and includes a hyperlink to AdoreMe’s Updated TOU highlighted in
 8   underlined and bold text. (Id., ¶ 8, Ex. F.)
 9           Of note, Plaintiff’s October 31 purchase came almost three weeks after she filed
10   her Complaint in which she discussed the substance of and changes to the Terms of Use
11   and even included a snapshot of the Checkout Page that featured the “PLACE ORDER”
12   button and textual notice. (Complaint, ¶¶ 19-21.) Given Plaintiff’s investigation of the
13   terms, Plaintiff cannot argue that she was not aware that she accepted the Updated TOU,
14   including their arbitration provision. See Nguyen v. Barnes & Noble Inc., 763 F.3d
15   1171, 1176 (9th Cir. 2014) (finding that “any evidence in the record that [Plaintiff] had
16   actual notice of the Terms of Use or was required to affirmatively acknowledge the
17   Terms of Use” would most likely result in an enforceable agreement because “courts
18   have consistently enforced browsewrap agreements where the user had actual notice of
19   the agreement.”) (emphasis added).
20           Courts have found enhanced “browsewrap” agreements, like Plaintiff’s with
21   AdoreMe, valid and have enforced arbitration agreements in almost identical situations.
22   For example, in a recent case in the Southern District the court compelled arbitration
23   where a textual notice with a highlighted hyperlink to the terms and conditions was
24   placed beneath a “review order” header on an Amazon checkout page where the plaintiff
25   had to click a “place your order” button to make a purchase:
26           Like all customers making purchases through Amazon, Plaintiffs were
             required to complete their orders by reviewing a final checkout page and
27           clicking a “Place your order” button located on that page…At the top of
             the checkout page, under the heading “Review your order,” there is a notice
28           to customers stating that “By placing your order, you agree to
             Amazon.com’s privacy notice and conditions of use.”
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 1                                                ***
             Here, the Court finds that Plaintiffs did have reasonable notice. The text of
 2           the notice, which reads “By placing your order, you agree to
             Amazon.com's privacy notice and conditions of use,” is the first line of the
 3           checkout page entitled “Review your order.”…The notice is located
             directly underneath the “Review your order” header such that it is clearly
 4           visible when viewing the page…The text is somewhat smaller than the text
             beneath it, but the hyperlink to the COUs is set off in blue-colored font.
 5
 6   Fagerstrom v. Amazon.com, Inc., 141 F. Supp. 3d 1051, 1057-58, 1069 (S.D. Cal. 2015)
 7   (citing Nguyen, 763 F.3d at 177 (“where the website contains an explicit textual notice
 8   that continued use will act as a manifestation of the user's intent to be bound, courts
 9   have been more amenable to enforcing browsewrap agreements.”).)
10           In another case in the Central District, the court made clear that where (such as
11   here) a plaintiff clicked on a “continue” button on a webpage after being notified that
12   clicking meant the plaintiff agreed to the terms of use, the agreement to arbitrate is
13   consistently enforced:
14           Defendant, on the other hand, has submitted admissible evidence that all
             users of the Match.com website during the relevant time period were
15           required to affirmatively agree to the Terms of Use when they clicked on
             a “Continue” or other similar button on the registration page where it was
16           explained that by clicking on that button, the user was affirming that they
             would be bound by the Terms of Use, which were always hyperlinked and
17           available for review….This type of “browsewrap” agreement commonly
             used to bind a website user to a website's terms of use are ‘consistently
18           enforced.’
19   Graf v. Match.com, LLC, No. CV 15-3911 PA (MRWX), 2015 WL 4263957, at *4
20   (C.D. Cal. July 10, 2015) (citing Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1176
21   (9th Cir.2014)); see also Nguyen, 763 F.3d at 1178 n.1 (acknowledging courts have
22   found valid agreements where a text notice adjacent to a button informed a user that
23   proceeding would require the user to accept the terms) (citing 5381 Partners LLC v.
24   Sharesale.com, Inc., No. 12–CV–4263 JFB AKT, 2013 WL 5328324, at *7 (E.D.N.Y.
25   Sept. 23, 2013) (“in addition to [a] hyperlink that appeared adjacent to the activation
26   button users had to click on, website also contained a text warning near the button that
27   stated ‘By clicking and making a request to Activate, you agree to the terms and
28   conditions in the [agreement]’”)); Cullinane v. Uber Techs., Inc., No. CV 14-14750-

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 1   DPW, 2016 WL 3751652, at *2 (D. Mass. July 11, 2016) (“The language surrounding
 2   the button leading to the Agreement is unambiguous in alerting the user that creating an
 3   account will bind her to the Agreement. And the word “Done,” although perhaps
 4   slightly less precise than “I accept,” or “I agree,” makes clear that by clicking the button
 5   the user has consummated account registration, the very process that the notification
 6   warns users will bind them to the Agreement.”); Selden v. Airbnb, Inc., No. 16-CV-
 7   00933 (CRC), 2016 WL 6476934, at *2 (D.D.C. Nov. 1, 2016) (“The text ‘By signing
 8   up, I agree to Airbnb's Terms of Service’ is conspicuous… It is placed in roughly the
 9   middle of the page, in close proximity to all three sign-up buttons. The text also appears
10   in dark font, in sharp contrast to the white background. It is, moreover, clearly legible,
11   appropriately sized, and unobscured by other visual elements. Although the text is not
12   directly under the first or second alternative sign-up buttons, any reasonably-observant
13   user would notice the text and accompanying hyperlinks.”).
14           Like in Fagerstrom, Graf, and similar cases the textual notice given to Plaintiff
15   made clear that by clicking the “PLACE ORDER” button she agreed to the Original
16   TOU and by clicking on the “Continue to Checkout” button and confirming her
17   purchase she agreed to the Updated TOU; the notice was explicit, prominently displayed
18   next to an important button, and made clear that acceptance was tethered to clicking the
19   button and making the purchase. Plaintiff was put on proper notice. By clicking the
20   buttons in order to make her purchases, Plaintiff affirmed she was bound by the Terms
21   of Use, which were always hyperlinked and available for review. Plaintiff agreed to
22   arbitrate her claims with AdoreMe.
23           C.      Plaintiff’s Claims Fall Within the Scope of Plaintiff’s Arbitration
24                   Agreement
25           The Updated Terms and Conditions provide that:
26           You agree that any dispute arising out of or relating to this Agreement,
             including with respect to the interpretation of any provision of this
27           Agreement or concerning the performance or obligations of Adore Me or
             you, shall be resolved by mandatory and binding arbitration…
28

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 1   (Ex. E, Updated TOU, p. 12.) It is settled that such language in an arbitration provision
 2   including the phrase “any claim . . . relating to” should be interpreted broadly. Cape
 3   Flattery Ltd. v. Titan Mar., LLC, 647 F.3d 914, 922 (9th Cir. 2011) (when parties intend
 4   to include a broad arbitration provision, they provide for arbitration “arising out of or
 5   relating to” the agreement); Alghanim v. Alghanim, 828 F. Supp. 2d 636, 652 (S.D.N.Y.
 6   2011) (“an arbitration clause covering “ ‘[a]ny claim or controversy arising out of or
 7   relating to th[e] agreement,’” is ‘the paradigm of a broad clause.’”) (quoting Collins &
 8   Aikman Prods. Co. v. Bldg. Sys., Inc., 58 F.3d 16, 20 (2d Cir.1995)). Anderson Plant,
 9   LLC v. Batzer Const., Inc., No. 2:13-CV-02109-KJM, 2014 WL 800293, at *4 (E.D.
10   Cal. 2014) (the language “arising out of or related to” when used in an arbitration clause
11   indicates that the scope of an arbitration clause is “broad and far reaching”); Bono v.
12   David, 147 Cal. App. 4th 1055, 1067 (2007) (“a ‘broad’ clause includes those using
13   language such as ‘any claim arising from or related to this agreement’”).
14           In fact, all Plaintiff’s claims relate to and concern her agreements with AdoreMe,
15   the services AdoreMe provided to her, and billing disputes with AdoreMe. (Complaint,
16   ¶¶ 19-20, 36-58.) Specifically, Plaintiff premises her claims on an allegation that the
17   billing procedure under AdoreMe’s VIP Membership problem is in violation of
18   California statutes and that AdoreMe improperly billed her. (Id., ¶¶ 36-58.) Because
19   Plaintiff’s claims fall squarely within the scope of her arbitration obligations, they must
20   be arbitrated. See Concepcion, 131 S.Ct. at 1748–49; see also Moses H. Cone Mem’l
21   Hosp., 460 U.S. at 24–25 (“any doubts concerning the scope of arbitrable issues should
22   be resolved in favor of arbitration”).
23           Moreover, Plaintiff’s claims cannot be maintained without reference to the Terms
24   of Use; Plaintiff’s claims are predicated on an explicit challenge to the terms.
25   (Complaint, ¶ 19 (“During the Class Period, Defendant’s webpage, found at
26   www.adoreme.com contained a section entitled “Terms & Conditions”. This is a
27   document in which information concerning the recurring nature of Defendant’s
28   subscription programs or the manner in which the subscriptions may be canceled was

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 1   not set forth in clear and conspicuous language.”); id. ¶ 20.) Put another way, Plaintiff’s
 2   claims unquestionably relate to and concern Plaintiff’s agreements with AdoreMe
 3   because they are maintained with reference to the Terms & Conditions. See Fazio v.
 4   Lehman Brothers Inc., 340 F.3d 386, 395 (6th Cir. 2003) (holding that any dispute that
 5   “must make reference” to the agreement containing the arbitration clause is “subject to
 6   arbitration”). Because Plaintiff’s claims fall squarely within the scope of her arbitration
 7   obligations, they must be arbitrated.
 8           D.      Plaintiff’s Arbitration Agreements are Valid and Enforceable Under
 9                   New York Law
10           Although the FAA and the strong federal policy in favor of arbitration apply to
11   Plaintiff’s arbitration agreements, New York law applies in assessing potential
12   arguments Plaintiff may raise against enforceability.4 First Options of Chi., Inc,. v.
13   Kaplan, 514 U.S. 938, 944 (1995) (federal courts “should apply ordinary state-law
14   principles” in determining enforceability of an arbitration agreement). “The ‘federal
15   policy favoring arbitration, however, is taken into consideration even in applying
16   ordinary state law.’” Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1368 (11th
17   Cir. 2005) (quoting Cooper v. MRM Inv. Co., 367 F.3d 493, 498 (6th Cir. 2004));
18   Goldman, Sachs & Co. v. City of Reno, 747 F.3d 733, 742 (9th Cir.), cert. denied sub
19   nom. City of Reno, Nev. v. Goldman, Sachs & Co., 135 S. Ct. 477 (2014) (“we apply
20   ‘general state-law principles of contract interpretation, while giving due regard to the
21   federal policy in favor of arbitration by resolving ambiguities as to the scope of
22   arbitration in favor of arbitration.”).
23           Under New York law, the primary objective “is to give effect to the intent of the
24   [contracting] parties as revealed by the language they chose to use.”5 Bourne v. Walt
25
26   4
       The Updated TOU select New York state law as governing law. (Ex. E, Updated TOU, p.
27   13.) However, as outlined below New York and California law are fundamentally similar and
     encompass similar principles on issues related to contract enforceability including
28   unconscionability. The outcome under both the law of both states is in accord.
     5
         Likewise, under California law the intent is to “give effect to the parties’ mutual intent.”
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 1   Disney Co., 68 F.3d 621, 628–29 (2d Cir. 1995); Bar-Ayal v. Time Warner Cable Inc.,
 2   No. 03 CV 9905 KMW, 2006 WL 2990032, at *8 (S.D.N.Y. Oct. 16, 2006) (“In
 3   determining whether a party entered into a binding contract, courts eschew the
 4   subjective and look to objective manifestations of intent...”). In this case, Plaintiff’s
 5   intent to arbitrate is plain; as explained above, Plaintiff agreed to arbitrate her claims
 6   against AdoreMe on three separate occasions and her claims fall well within the scope
 7   of her agreement to arbitrate.
 8           If Plaintiff seeks to avoid her arbitration obligations, including on the basis of
 9   unconscionability, she bears the burden of proving a valid defense. Harrington v. Atl.
10   Sounding Co., 602 F.3d 113, 124 (2d Cir. 2010) (“A party to an arbitration agreement
11   seeking to avoid arbitration generally bears the burden of showing the agreement to be
12   inapplicable or invalid.”) (citing Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79,
13   91–92, (2000)); see also Engalla v. Permanente Med. Grp., Inc., 15 Cal.4th 951, 972
14   (1997). Here, the arbitration agreements are not unconscionable and therefore fully
15   enforceable.6
16           After the Supreme Court’s ruling in Concepcion, New York courts have
17   consistently enforced consumer arbitration agreements and rejected arguments of
18   unconscionability.7 See, e.g., Damato, No. 13-CV-994 ARR RML, 2013 WL 3968765
19   at *13 (finding agreement not unconscionable under New York and California law);
20
21
     People v. Int’l Fid. Ins. Co., 185 Cal. App. 4th 1391, 1396 (2010); see also Skilstaf, Inc. v.
22   CVS Caremark Corp., 669 F.3d 1005, 1014 (9th Cir. 2012). Further, the parties’ intent is to
     be inferred, if possible, solely from the written provisions of the contract. Clarendon Am. Ins.
23   Co. v. N. Am. Capacity Ins. Co., 186 Cal. App. 4th 556, 566 (2010); see also Reigelsperger v.
     Siller, 40 Cal.4th 574, 579-80 (2007) (enforcing arbitration clause where contract
24   demonstrated parties’ intent to arbitrate); Directv, a Delaware corporation v. Factory Mut.
     Ins. Co., 160 F. Supp. 3d 1193, 1197 (C.D. Cal. 2016).
25   6
       As noted above, it is Plaintiff’s burden, not AdoreMe’s burden, to prove the arbitration clause
26   is unenforceable. By highlighting the enforceability of Plaintiff’s arbitration agreements here,
     AdoreMe is not in any way assuming the burden of proof with respect to this issue.
27   7
       As have California courts. Kilgore v. KeyBank, N.A., 718 F.3d 1052 (9th Cir. 2013); Flores
28   v. West Covina Auto Grp., 212 Cal. App. 4th 895 (2013); Mance v. Mercedes-Benz USA, 901
     F.Supp.2d 1147, 2012 WL 4497369 (N.D. Cal. 2012).
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 1   Frankel v. Citicorp Ins. Servs., Inc., No. 11-CV-2293 NGG RER, 2014 WL 10518555,
 2   at *1 (E.D.N.Y. Aug. 12, 2014), report and recommendation adopted, No. 11-CV-2293
 3   NGG RER, 2015 WL 6021534 (E.D.N.Y. Oct. 14, 2015); In re Conifer Realty LLC
 4   (EnviroTech Servs., Inc.), 964 N.Y.S.2d 735, 739 (2013).
 5                   1.    Plaintiff Must Prove Her Arbitration Agreement to be both
 6                         Procedurally and Substantively Unconscionable to Render it
 7                         Unenforceable
 8           Under New York law unconscionability has procedural and substantive elements
 9   and a contract provision is unenforceable only if it is both procedurally and
10   substantively unconscionable.8 Nayal v. HIP Network Servs. IPA, Inc., 620 F. Supp. 2d
11   566, 571 (S.D.N.Y. 2009) (“Generally, there must be a showing that such a contract is
12   both procedurally and substantively unconscionable.”); Brower v. Gateway 2000, Inc.,
13   676 N.Y.S.2d 569 (1998). Further, “[a]contract is unconscionable when it ‘is so grossly
14   unreasonable or unconscionable in the light of the mores and business practices of the
15   time and place as to be unenforcible [sic] according to its literal terms.’”9 Nayal IPA,
16   Inc., 620 F. Supp. 2d at 571 (quoting Gillman v. Chase Manhattan Bank, N.A., 537
17   N.Y.S.2d 787 (1988). “The purpose of this doctrine is not to redress the inequality
18   between the parties but simply to ensure that the more powerful party cannot 'surprise'
19   the other party with some overly oppressive term.” Brower, 246 A.D.2d at 253; Bar-
20   Ayal, No. 03 CV 9905 KMW, 2006 WL 2990032, at *15 (“Ultimately, the purpose of
21   the unconscionability doctrine ‘is to prevent oppression and unfair surprise, not to
22   readjust the agreed allocation of the risks in the light of some perceived imbalance in
23   the parties' bargaining power.’”) (citation omitted). The unconscionability standard
24
25   8
      California law is in accord. Mohamed v. Uber Technologies, Inc., 836 F.3d 1102, 1110 (9th
26   Cir. 2016) (citing California cases); Shroyer v. New Cingular Wireless Servs., Inc., 498 F.3d
     976, 981 (9th Cir. 2007); Sanchez v. Valencia Holding Co., LLC, 61 Cal.4th 899, 910 (2015).
27   9
       Likewise, the California’s standard is similar. Baltazar v. Forever 21, Inc., 62 Cal.4th 1237,
28   1245 (2016) (“unconscionability requires a substantial degree of unfairness beyond a simple
     old-fashioned bad bargain” rather unconscionable contracts are those that are “so one-sided as
     to shock the conscience.”).
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 1   must be the same for arbitration and nonarbitration agreements. Concepcion, 131 S. Ct.
 2   at 1746; Sanchez, 61 Cal.4th at 912. As discussed below, Plaintiff cannot show that the
 3   arbitration agreement is both procedurally and substantively unconscionable and
 4   therefore the arbitration agreement is fully enforceable.
 5                   2.    Plaintiff’s Arbitration Agreements Are Not Procedurally
 6                         Unconscionable
 7           “As to the procedural element, a court will look to the contract formation process
 8   to determine if in fact one party lacked any meaningful choice in entering into the
 9   contract, taking into consideration such factors as the setting of the transaction, the
10   experience and education of the party claiming unconscionability, whether the contract
11   contained ‘fine print,’ whether the seller used ‘high-pressured tactics’ and any disparity
12   in the parties' bargaining power.”10 Brower, 246 A.D.2d at 253. Though “[i]nequality
13   of bargaining power alone does not invalidate a contract as one of adhesion when the
14   purchase can be made elsewhere.” Ranieri v. Bell Atl. Mobile, 304 A.D.2d 353, 354,
15   (2003); Nayal, 620 F. Supp. 2d at 571 (“Second, even if the Agreement was a form
16   contract offered on a ‘take-it-or-leave-it’ basis and HIP refused to negotiate the
17   Arbitration Provision, this is not sufficient under New York law to render the provision
18   procedurally unconscionable.”)
19           Here, Plaintiff cannot meet her burden of showing that she did not have a
20   meaningful choice. Plaintiff had the choice to decline to shop on AdoreMe’s website
21   and instead purchase similar products from competing retailers. AdoreMe has many
22
23
     10
24     In California, “[t]he procedural element addresses the circumstances of contract negotiation
     and formation, focusing on oppression or surprise due to unequal bargaining
25   power…Oppression occurs where a contract involves lack of negotiation and meaningful
     choice, surprise where the allegedly unconscionable provision is hidden within a prolix printed
26   form.” Pinnacle Museum Tower Assn. v. Pinnacle Mkt. Dev. (US), LLC, 55 Cal.4th 223, 246
     (2012). AdoreMe “was under no obligation to highlight the arbitration clause of its contract,
27   nor was it required to specifically call that clause to [Plaintiff’s] attention. Any state law
     imposing such an obligation would be preempted by the FAA.” Sanchez, 61 Cal.4th at 914.
28   Adhesion contracts are fully enforceable. See Graham v. Scissor-Tail, Inc., 28 Cal.3d 807,
     819-20 (1981).
                                                 20
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 1   competitors which sell women’s lingerie and clothing, including online merchants such
 2   as such as Amazon.com and Victoria’s Secret nationwide.11,12 See Brower, 246 A.D.2d
 3   at 252 (“the ability to make the purchase elsewhere and the express option to return the
 4   goods, the consumer is not in a “take it or leave it” position at all; if any term of the
 5   agreement is unacceptable to the consumer, he or she can easily buy a competitor's
 6   product instead”); Ranieri, 304 A.D.2d at 354 (“It does not avail plaintiff to argue that
 7   the arbitration provision is unconscionable without offering evidence that he could not
 8   have chosen another service provider.”); Bar–Ayal, 9905, 2006 WL 2990032, at *16
 9   (refusing to find arbitration provision unconscionable because plaintiff “has not
10   provided any evidence that he could not obtain high-speed Internet service from another
11   provider.”).
12           Further, there is no surprise in either the Updated or Original TOUs because the
13   terms were not in fine print. Brower, 246 A.D.2d at 253. Instead, the opposite is true—
14   the terms are not procedurally unconscionable because they are capitalized, bolded, and
15   not “buried in fine print.” Jackson v. S.A.W. Entm’t Ltd., 629 F. Supp. 2d 1018, 1023
16   (N.D. Cal. 2009). The AdoreMe Sign-Up Webpage, Checkout Webpage, and Shopping
17   Bag Page prominently linked the Terms of Use. (Lucaciu Decl., ¶¶ 5-6, 8, Exs. B, C,
18   F.) The arbitration provisions are highlighted within the agreements: in the Original
19   TOU the arbitration provision is located under a capitalized header, while the Updated
20   TOU gives notice of the arbitration provision, capitalized and in bold, in the first
21   sentence and the class action waiver is referenced in the third and fourth paragraph, all
22   on the first page. Further, the Updated TOU capitalize, underline, and boldface
23
24
     11
25      See, e.g., https://www.victoriassecret.com/lingerie; https://www.amazon.com/Lingerie-
     Sets-Intimate-Clothing-Women/b?ie=UTF8&node=1044962.
26   12
        California courts have found adhesion contracts not procedurally unconscionable for this
27   reason. Morris v. Redwood Empire Bancorp, 128 Cal. App. 4th 1305, 1320 (2005); Dean
     Witter Reynolds, Inc. v. Superior Court, 211 Cal. App. 3d 758, 768, 259 (Ct. App. 1989)
28   (collecting California cases).

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 1   especially important terms of the arbitration provision. In short, any customer who read
 2   AdoreMe’s Terms of Use would have been aware of and should have been able to
 3   understand AdoreMe’s arbitration and class action waiver provisions.13 Additionally,
 4   Plaintiff cannot claim surprise because she discussed the Updated TOU in her
 5   Complaint and then subsequently agreed to those TOU when she purchased three more
 6   articles of clothing from the website. (Lucaciu Decl., ¶ 8.)
 7           Lastly, Ms. Lira faced no “high pressure tactics.” In fact, Ms. Lira faced no
 8   pressure it all. She was free to shop from the comfort of her own home, without contact
 9   with any salesperson. (Id., ¶ 2.) Further, Ms. Lira had the option to purchase the
10   products on a “pay as you go” basis if she so wished; her decision to become a VIP
11   Member was made on her own volition and before purchase she had the ability to review
12   the Original and Updated TOU at her leisure. (Id., ¶¶ 5-6, 8.)
13           Because Ms. Lira had choices in selecting a clothing vendor, both sets of TOU
14   highlighted the arbitration provision and Ms. Lira faced no pressure to buy the products,
15   Ms. Lira cannot establish the essential element of procedural unconscionability.
16   Anonymous v. JP Morgan Chase & Co., No. 05 CIV. 2442 (JGK), 2005 WL 2861589,
17   at *6 (S.D.N.Y. Oct. 31, 2005) (“The arbitration clause is clearly set out in all-caps
18   following a heading in all-caps and bold print titled ‘Arbitration Agreement.’ The
19
20
     13
21      Plaintiff cannot claim “surprise” because both Terms of Use incorporate AAA rules via the
     following language: “the Supplementary Procedures for Consumer Related Disputes
22   (collectively, the "AAA Rules") of the American Arbitration Association (the "AAA"), as
     modified by these Terms, and will be administered by the AAA. The AAA Rules are available
23   online at www.adr.org or by calling the AAA at 1-800-778-7879.” (Ex. D, Original TOU.,
     Arbitration Agreement(C); Ex. E, Updated TOU, p. 12.) Courts have found similar
24   incorporation perfectly conscionable. Fagerstrom, 141 F. Supp. 3d at 1070–71 (“The test,
     however, is whether Plaintiffs had a “reasonable opportunity” to understand important terms,
25   not whether Amazon outlined the terms with maximum clarity… A reasonable consumer
     would assume that the “Consumer Arbitration Rules” apply, particularly given Amazon's
26   reference to the AAA's “Supplementary Procedures for Consumer–Related Disputes” in the
     Agreement…The Consumer Rules appear on the first page of the AAA website's listing of
27   rules and require no special web-browsing expertise to locate…And to the extent that
     consumers have questions about the applicable rules, they can call the AAA's toll-free number
28   provided by Amazon in the Arbitration Agreement…Thus, the Court finds that while the
     reference to the applicable rules could be clearer, the degree of ambiguity involved does not
     rise to the level of procedural unconscionability.”) (citations omitted).
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 1   provision is clearly written. The plaintiff signed the Agreement without any high-
 2   pressured sales tactics used on him. He was free to go to other credit card issuers.”)
 3                   3.    Plaintiff’s Arbitration Agreement Is Not Substantively
 4                         Unconscionable
 5           The arbitration agreement is also not substantively unconscionable. “Substantive
 6   unconscionability focuses on the effects of the contractual terms and whether they are
 7   overly harsh or one-sided.” Damato, No. 13-CV-994 ARR RML, 2013 WL 3968765,
 8   at *7 (finding New York and California law in accord); Pinnacle Museum Tower Ass’n,
 9   55 Cal.4th at 246 (“Substantive unconscionability pertains to the fairness of an
10   agreement’s actual terms and to assessments of whether they are overly harsh or one-
11   sided…A contract term is not substantively unconscionable when it merely gives one
12   side a greater benefit; rather, the term must be ‘so one-sided as to shock the
13   conscience.”). Far from shocking the conscience, the arbitration agreements here are
14   even-handed and fair.
15           The Updated TOU bilaterally requires AdoreMe and the customers to “make a
16   good faith sustained effort to resolve the dispute” before proceeding with arbitration.
17   (Ex., D, Updated TOU, pg. 11.) In both the Original and Updated TOU, both parties
18   are required to arbitrate all claims (except those submitted to small claims court) that
19   they are unable to resolve informally. Both parties are governed by the same procedural
20   requirements and arbitration rules.      The arbitrations are to be conducted by the
21   American Arbitration Association (“AAA”), pursuant to its rules, including consumer-
22   friendly procedures specifically designed for consumer disputes. (Lucaciu Decl., ¶ 10.)
23   Plaintiff may schedule the arbitration in her local area. (Id.) Additionally, AdoreMe
24   agrees to pay for all arbitration and administration fees and legal fees up to a maximum
25   of $5000, regardless of the outcome of the litigation. (Id.) This amount is several
26   magnitudes greater than the restitution Ms. Lira seeks for herself. (Complaint, Prayer.)
27   Consequently the arbitration agreements at issue are not substantively unconscionable
28   and therefore should be enforced.

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 1   IV.     CONCLUSION
 2           Plaintiff is contractually required to arbitrate her claims. AdoreMe respectfully
 3   requests that the Court grant AdoreMe’s motion and stay this matter pursuant to Section
 4   3 of the FAA until the arbitration is completed.
 5
 6   DATED: December 1, 2016            Respectfully submitted,
 7                                      ANDREW E. PARIS
                                        ALEXANDER AKERMAN
 8                                      ALSTON & BIRD LLP
 9
                                        /s/ Andrew E. Paris
10                                                         Andrew E, Paris
                                        Attorneys for Defendant
11                                      ADOREME, INC.
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 1                       CERTIFICATE OF SERVICE
 2
 3         I HEREBY CERTIFY that all counsel of record who are deemed to
 4
     have consented to electronic service are being served with a copy of this
 5
     document via the Court’s CM/ECF system this 1 st day of December 2016.
 6
 7
 8
 9                                               /s/ Andrew E. Paris
10                                                   Andrew E. Paris
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